Case 1:22-cr-00673-LAK Document 137-11 Filed 05/08/23 Page 1 of 2




                 Exhibit 11
         Case 1:22-cr-00673-LAK Document 137-11 Filed 05/08/23 Page 2 of 2



To:                                                    ; Sassoon , Danielle
(USANY
Cc:
Wheeler,
Nicole W
*FTXlnv
From:        eargan,   ane .
Sent:      Fri 12/16/2022 9:57:56 PM
Subject:   [EXTERNAL] FTX

 Nick, Danielle,

 We wanted to draw your attention to an entry in the FTX.us AWS user account and transaction data
 provided to you on December 5, 2022via the USAFX FTP site ("AWS Data") that resembles a transfer
 discussed by Sam Bankman-Fried in Signal chats to address the $45 million "hole" in the FTX.us
 balance sheet.

 The signal chats produced to you on November 23, 2022 reflect that, on November 9, 2022, Zach
 Dexter noted a "$4SM deficit in customer assets based on Gary's spreadsheet," and argued that it was
 "urgently important to determine where that $4SM is, and if it doesn't exist, clearly effectuate a
 transfer of the same amount of operating cash to the FBO accounts." FTX_000022966. Later that day,
 Sam Bankman-Fried asked "how much exac[tly] is needed on US for FBO." FTX_000022974. Dexter
 responded 0 45,752,126.14 but that's based on Gary's snapshot yesterday. " Id. Bankman-Fried
 replied that he had "transferred 46m from info@alameda-research.com to expenses@ftx.us on
 ftx .us ." Id.

 In the AWS Data file named "UA Transfers," row 891 reflects a transfer (ID No. 5463239) made on
 November 9, 2022 of $46,000,000 in U.S. Dol lars from account                   (info@alameda-
 research.com ) to account number- (fiat@ftx.us). The notes field for the transfer includes the
 note "Fiat accounting." Although the destination account does not match Bankman-Fried's message
 (i.e., the transfer is to fiat@ftx. us instead of expenses@ftx. us), the timing of the transfer and
 remaining details are consistent with the transfer described in Bankman-Fried's message.

 Best,

 Shane

 Shane Yeargan
 Sullivan & Cromwell LLP 125 Broad Street I New York, NY 10004-2498
 T:                 F:




 This e-majl is sent by a law firm and contains information that may be privileged and
 confidential. If you are not the intended recipient, please delete the e-mail and notify us
 immediately.




                                                                                               SONY_02_00449361
